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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                      Plaintiff,                            Case Number 23-20179
v.                                                          Honorable David M. Lawson

EDWARD LEE DICKERSON,

                  Defendant.
________________________________________/

     ORDER DENYING MOTION FOR REVOCATION OF DETENTION ORDER

       This matter is before the Court on the defendant’s motion to revoke the order of detention

and for release on bond pending trial. The Court has reviewed the submissions of the parties and

heard oral argument on May 11, 2023. At the end of the hearing, the Court found, based on all of

the information submitted by the parties, that there is no condition or combination of conditions

that reasonably would assure the defendant’s appearance at trial or the safety of the community,

and the Court announced from the bench its decision to deny the motion.

       The Bail Reform Act favors pretrial release. United States v. Stone, 608 F.3d 939, 945 (6th

Cir. 2010) (observing that “[t]he default position of the law . . . is that a defendant should be

released pending trial”). Detention may be ordered “only if a judicial officer ‘finds that no

condition or combination of conditions will reasonably assure the appearance of the person as

required and the safety of any other person and the community[.]’” Ibid. (quoting 18 U.S.C. §

3142(e)). In making this determination, the Court must consider:

       (1)     the nature and circumstances of the offense charged, including whether the
       offense is a crime of violence, a violation of section 1591, a Federal crime of
       terrorism, or involves a minor victim or a controlled substance, firearm, explosive,
       or destructive device;

       (2)    the weight of the evidence against the person;
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       (3)     the history and characteristics of the person, including

               (A)    the person’s character, physical and mental condition, family ties,
       employment, financial resources, length of residence in the community, community
       ties, past conduct, history relating to drug or alcohol abuse, criminal history, and
       record concerning appearance at court proceedings; and

              (B)    whether, at the time of the current offense or arrest, the person was
       on probation, on parole, or on other release pending trial, sentencing, appeal, or
       completion of sentence for an offense under Federal, State, or local law; and

       (4)    the nature and seriousness of the danger to any person or the community
       that would be posed by the person’s release.

18 U.S.C. § 3142(g).

       The defendant was charged in a six-count indictment with possession of heroin, cocaine,

cocaine base, and fentanyl with intent to distribute, in violation of 21 U.S.C. § 841(a)(1);

possession of a stolen firearm, in violation of 18 U.S.C. § 922(j); and possession of a firearm in

furtherance of a drug-trafficking crime, in violation of 18 U.S.C. § 942(c)(1)(A). The charges

stem from the March 14, 2023 execution of a search warrant at the defendant’s home. During the

search, officers found three firearms, including a Glock pistol and an AR-15 style semiautomatic

rifle, both of which were stolen. They also found 28.5 grams of suspected heroin, 271.9 grams of

suspected cocaine, and 115.7 grams of suspected fentanyl.

       The defendant is 45 years old and has a long criminal history. He has six prior felony

convictions, five of which were for drug offenses and the sixth and most recent of which was for

assault with intent to do great bodily harm. The assault charges arose in 2014 after the defendant

conducted a drive-by shooting in which one victim was shot in the neck and another in the groin.

His most recent period of supervision ended in November 2020, and he successfully completed

parole without any violations. However, between 1995 and 2006 the defendant repeatedly violated

the terms of his supervision after repeatedly being convicted for narcotics dealing while on

probation for other narcotics-trafficking crimes.


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       The magistrate judge issued a detention order after she found that the defendant posed a

public danger and no condition or combination of conditions could assure the safety of the

community. That finding was based on evidence presented by the government at the detention

hearing, and proffered before this Court today, that established the defendant’s possession of

multiple firearms and significant quantities of narcotics, including significant quantities of

fentanyl.

       After considering the record of the proceedings and the presentations of the parties, the

Court must agree with the magistrate judge. The government has established by clear and

convincing evidence that no condition or combination of conditions reasonably will assure the

safety of the community if the defendant is released. That conclusion is bolstered by additional

evidence offered by the government at the motion hearing, most of which was considered by the

magistrate judge as well. That evidence includes proof that the defendant

            o has multiple prior felony convictions involving narcotics trafficking and a
              prior felony conviction for a violent assault

            o has multiple violations of probation involving additional criminal conduct

            o has been linked by surveillance to a property where a search was carried out
              at which three firearms (including high-powered and stolen weapons) as
              well as large amounts of fentanyl, cocaine, and heroin were located

            o has engaged in a decades-long pattern of criminal conduct

       The defendant argues that he largely has reformed. He notes that his last criminal

conviction was for an assault that occurred nearly a decade ago and that he was released on bond

during the assault case and successfully completed his parole with no violations. He also contends

that his dangerous adequately can be mitigated by appointing his aunt as a third-party custodian

and imposing a condition requiring a GPS tether. However, these conditions do not address the

evidence of the defendant’s dangerousness recited above.



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       The weight of the evidence against the defendant on the charged offense is strong. Most

of the factors weigh in favor of detention. The government has carried its burden of proving by

clear and convincing evidence that the defendant poses a danger to the community if released.

       Accordingly, it is ORDERED that the defendant’s motion to revoke the detention order

(ECF No. 17) is DENIED for the reasons stated above and those stated on the record.

                                                          s/David M. Lawson
                                                          DAVID M. LAWSON
                                                          United States District Judge

Dated: May 11, 2023




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